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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

BARRY G. AARON                                                                       PLAINTIFF
ADC #097176

V.                                   No. 2:21-CV-5-LPR-JTR

GAYLON LAY,
Warden, EARU, et al.                                                             DEFENDANTS

                                             ORDER

       The Court has received a Partial Recommended Disposition from Magistrate Judge J.

Thomas Ray and the objection filed by Plaintiff. After a careful and de novo review of the PRD,

the objection, and the entire record, the Court concludes that the Recommendation should be, and

hereby is, approved and adopted as this Court’s findings in its entirety.

       Plaintiff may proceed with his failure to protect and retaliation claims against Lay and

Jackson. Plaintiff’s claims against Lay and Jackson for PREA violations are dismissed with

prejudice. Plaintiff’s state law claims against Lay and Jackson are dismissed without prejudice.

       IT IS SO ORDERED this 7th day of December, 2021.



                                                      ________________________________
                                                      LEE P. RUDOFSKY
                                                      UNITED STATES DISTRICT JUDGE
